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                                                                     THOMAS G
                                                                  CLERK, U.S.
                                                                                 . BRUTON
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      Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 2 of 25 PageID #:172

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     5:          .,or(r^N? Sq* /rl'cc[< d.*&^")
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      8, ep ayTrvk, ( (//ry/S i*trror4-<.-,F-y/--e
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      ?o. /trr:             f,tlfor^.rda}                 otro-,( Ao-/f-4-
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    Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 5 of 25 PageID #:175
          oD T/*x" /t//slts ?/*;,"+rff corvk




l@. o,D t//t7/ 6t a-r a77tak" q;sor*z4 s
Dh//c lG*rWh)as leDry **k-A & AX
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    Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 6 of 25 PageID #:176




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€-opt* 6U dr!#.*^ S^ At}
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{ ^-"*a,/a.,a bm  ffi<- SF?'Ae-
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/ne.il^z-
out of f*-n*o,t' n/ (ff<-- S-ez- Ek*
   Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 7 of 25 PageID #:177



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{ /.JeL-e lrv&rYlew"-'1 L7 -
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by /.4" S-//c)/ct/J qn4 SfYt ?2 qz''J{
u)a.s S IlvO qrJ a/&ry/at#,q
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       Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 9 of 25 PageID #:179
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                  Ly H C6^n/ec .9-s-?o* #,<-
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              'A,yorffizrrfon /vt/tvd ()*
 elt7r'u,1.-<_- f Ac&,^e-e # 4,.n-- o//*5-/
rns.*tso.t @A /h4<) /*-*f* a //q7.4 /y
lps.{ f/O ffi- ashr4?. f,rlN€hy '4?-
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# O.*<- #r^"rrb( DW, fru /Nfu/..*A*4
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                                                     v?-      eu s4^ 4 (q
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frP.;r,L &xr<.-              4--7V*rn^-<- of
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uo    Oe a,6zreU z/s//e ? s/ z/rz/6s
-,-/ 6/so//Q , ,f/*, //,JA# e)ats, /-n--_o(
*, tr7,D lP€u flC" a7fu4n {o-,n/*\ /..t
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,/n)L,          ge
  f,,.- 6"A.4dL -ft,,,=e) & kJ4/z4Y-
     Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 11 of 25 PageID #:181




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  pu€a A,c, :s€< gN-AaLa{--F -* /- "

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                                        cf

  GA, klrL, f/*/&/f                               )rtl*,ry-..-"1            A,ok
   **b          (o^,,tSebA ) rrvu(                                       er./od
                        -d) /-{4-4
  #r.r,-1 /h<.- #,,o*42v-,
  ou"r- A %Ad//^<- O#/"toA                                                   c


  P/orlro    olzts *1<,,r1/<--( f<,+4,L-.uM
  frc b/ 5,€4A////z aL-,ri /tRB     de
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 e<rrffite4 ot^dq,o*( *,1/ q/ {A,^C&1
d/kf P-*f/e_g oe) flk     lNfa,n,.-*4..t
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aLF"rJ**f                                                  '
 f/aw&% ,ry //') 4Ar              :  L
trc*u{,w1 ^ fin-<--' ;t 4, //.(! ofr-Alc
'74q                                  il
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  dlrL.            Oa      yUou".,.rL-crl        //s D/Ce) DAI/<
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 C.r'{./. #*                 a)q-e       Gfu^: dfr d*,4,c
 o.^ts( /o/qz*.:( /.O S.pcroZ(                       n"f        az   (qend*

                     F E@AL REAEUtES
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f.o{ {4-" frf"dft-€rk Jrrkvarn/e<       k
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  Av\<- ,€-,ttco) B -^.nv( . 0)/r-,r--qs :




rcgarc*zuq 6 L<.hctt<a/                                         otr< o€
C4r(stXf,3 L.c*d,<
                     t)rvra<a,A P-ql<                                         {./
Aoo( fi,n--dro Atg t,IfL*
                                      l2-
       Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 13 of 25 PageID #:183



57a,,ls<- Tb                  S-z   t-( J r ) e.rlo4ta-) o,,t s( a) a1s
 a99qarc€--( 47 tWruzfi< ,/=q./7S A4r<
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 f.q  %"t/,rY7,.r*rurp   Of          C{,s "C_€   7-Gasco\ L..o*-(              <--- €f,"---<*
 a-h/,Jkerv Ca)           "f t-ye^lz/
                                ufiJ,7rl                    -rb   rt,r-- SrieVq,<t<*.
oJirtD Slx- /rt ,il{Z,s).
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€ru.€1^<- R-qlr c-) 8- *7v( QR 8) . F/.*dnt-
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Af ht/.',.44< fi.?kgrd      4-r.-< 4,
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pt&z( 2 q.?b( rcc<: /u<?/ g g s€qf/<
i.ts   4r=- A-*o(,
                                           Irs
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 9€,.Au ilk-              n € S{bds,        < c) a-s
P-rfl,-s          Aq.s A-<n-; aoU-{
                               6 )aqn /<s F
/ /S-() aru4 //2ro< atfr- (a"r-ry     3 rdaf
q p-(-r'S*- fiK^)LF.8^ ,R"B SAA4
 re-$ "// o ; c,fi4nce#tdd f.- rlz/e                                       t


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                                       tr k -                                        _




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4,.< )rofurr*uo( ;? /h€ fi*-- Aflk
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/v.? L<-.r) pZq.--( ar) P/*,t.ts*/tr
k*r/         SrV"rmz<-               /d*€- Z a*Z*n 6
                        Str-q-
 A.- /c.<-noC,^) /*C. L4/1)A/ A-
froi ts N9/u-e4" 7 al^s abl
/L,4' " d;rr- E c. de. / sld-J rt<a./i
     4KB ea
 -&u
                                       t1
         Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 15 of 25 PageID #:185

     it/s od o* lh=- i^)
J^nt-sau&d.1)," J=< eLLrc'€                                                       -'

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5-<. E-A[L*-      E --           {




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  Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 16 of 25 PageID #:186

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 f-c rqntz( 3@a; a'z;2. Afio-t rUa
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      -Zr*a^ Jr/.tlea*la€o                                 7h,<-            14^----
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/sS*z<- /€ -T, /tt<.u<{- --
                        O?++/ca- ):
   Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 17 of 25 PageID #:187

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    Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 18 of 25 PageID #:188

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  a,r1<r^tqt- ig
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i/f-r,^.4 Sedt,/"
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      Case: 1:17-cv-00441 Document #: 20 Filed: 06/13/17 Page 19 of 25 PageID #:189

 33.                      ).K4 vkrud€4
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